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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

_____________________________________________________________________________
                                          :
JACKSON NATIONAL LIFE                     :
INSURANCE COMPANY,                        :
                                          :
                  Plaintiff,              :
                                          :
            v.                            :     Case No.:
                                          :
                                          :
STERLING CRUM,                            :
                                          :
                  Defendant.              :
______________________________________________________________________________

                                           COMPLAINT

       Plaintiff, Jackson National Life Insurance Company (“Jackson”), by and through its

attorneys, Miller & Martin, PLLC, hereby files this Complaint for Declaratory Judgment and, in

support thereof, alleges and states as follows:

                                        INTRODUCTION

       1.      This is an action for declaratory judgment under the Declaratory Judgment Act,

28 U.S.C. § 2201, stemming from the procurement of a $500,000 insurance policy (the “Policy”)

on the life of Kelly Douglas Couch (“Mr. Couch”).

       2.      Jackson is entitled to the relief it seeks because it is unclear whether the Policy

was an illegal human life wager and lacked an insurable interest at inception. Specifically, the

facts and circumstances surrounding the application and procurement of the Policy raise issues

concerning (i) whether there was an agreement or understanding made, prior to when the Policy

was issued, for it or an interest in it to be assigned or sold in a secondary market; (ii) whether the

Policy was procured for the purpose of assigning or selling it (or an interest therein) to an entity

having no insurable interest in the life of Mr. Couch; (iii) whether the Policy was intended to
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protect against an actual risk of loss facing anyone associated with Mr. Couch in the event of his

death; (iv) whether the Policy was procured by, or at the behest of, an entity having no insurable

interest in the life of Mr. Couch; (v) whether Mr. Couch paid the premiums on the Policy; and

(vi) whether the individual who completed the Policy application is the same individual who died

on June 10, 2005.

       3.      Jackson therefore seeks equitable relief in the form of a declaration regarding

whether the Policy is void ab initio because it was an illegal human life wager and was

unsupported by a valid insurable interest at issuance. Jackson further seeks a declaration as to

whether any premiums are refundable on the Policy and, if so, whether it is entitled to offset any

return of premiums against the costs and other losses it incurred in connection with the Policy.

                                            PARTIES

       4.      Plaintiff, Jackson, is an insurance company, incorporated and existing under the

laws of Michigan, with its principal place of business in Michigan. Jackson is a citizen of

Michigan for purposes of diversity jurisdiction.

       5.      Upon information and belief, Defendant, Mr. Crum, is a natural citizen, residing

in Washington. Mr. Crum is a citizen of Washington for purposes of diversity jurisdiction.

                                JURISDICTION AND VENUE

       6.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, because

the claims arise under the laws of the United States, particularly the Declaratory Judgment Act,

28 U.S.C. § 2201. This Court also has jurisdiction under 28 U.S.C. § 1332(a)(1), because the

matter in controversy exceeds the sum of $75,000, exclusive of interest and costs, and there is

complete diversity between Plaintiff and Defendant.




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       7.      Venue is proper in the District of Georgia, because a substantial part of the events

giving rise to each of the claims occurred in Georgia. Among other things, the Policy was

applied for in Georgia through a Georgia broker; the application was signed in Georgia; and the

policy was delivered in Georgia.

                                   FACTUAL BACKGROUND

       A.      The Viatical Industry

       8.      The viatical industry emerged in the late 1980’s and early 1990’s as a means for

terminally ill policyholders, principally those suffering from AIDS, to convert their life insurance

policies – assets that were otherwise allegedly useless to them during their lifetimes – into cash

by selling them on a secondary market.

       9.      Effectuated properly, viatical transactions can be legal. However, over the years,

crooked secondary market investors have created illegal viatical schemes whereby they solicit

terminally ill patients to commit insurance fraud by permitting stranger investors to place life

insurance policies on their lives with the understanding and/or expectation that the policies will

be later sold on the secondary market.

       10.     There has been significant litigation in connection with these schemes. Much of

this litigation seeks to invalidate policies that were subject to “clean-sheet” and/or “wet-ink”

strategies, which are typically designed to defraud insurance companies into issuing policies on

individuals with poor health and/or policies that will be sold on the secondary market.

       11.     Clean-sheeting is intended to induce insurers to issue policies on insureds that

otherwise would not be able to obtain insurance. In a clean-sheeting scheme, an applicant

(sometimes in cooperation with the secondary market investor) conceals that they are terminally

or chronically ill, or that their health is otherwise compromised, by lying about their health on




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the insurance application and/or submitting medical records or test results from a healthy person

rather than the applicant. These schemes allow the viatical companies to create an inventory of

policies for sale on the viatical market.

        12.     Wet-ink schemes (often used in conjunction with clean-sheet schemes) occur

when the applicant agrees to sell the fraudulently procured policy at or near the time of issuance,

while the ink is metaphorically “still wet” on the policy. Because the sale of a life insurance

policy soon after issuance could raise a “red flag” to the insurance company, unscrupulous

viatical settlement providers often hide wet-ink transactions by not disclosing any evidence of

the transfer until after the expiration of the contestability periods.

        B.      The Couch Policy

        13.     In 1998, the Midland Life Insurance Company (“Midland”) received an

application seeking $500,000 in life insurance coverage on the life of Mr. Couch (the

“Application”). A copy of Part 1 of the Application is attached at Exhibit A. Mr. Couch’s

social security number is listed as          8600 on the Application.

        14.     The Application listed “ESTATE OF INSURED” as the beneficiary of the

proposed Policy. An estate named as the beneficiary is now known to be a common

characteristic of policies procured for sale in the Secondary Market, especially where the insured

has no spouse or children. During the claim review process Jackson learned that, at the time of

his Application, Mr. Couch was only 32 years old with no spouse or children.

        15.     The Application further listed Mr. Couch’s address as

        Atlanta, GA          and Mr. Couch’s occupation as “RESIDENTIAL CLEANING

SERVICE.”




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       16.      The Application also asked in Section 11, entitled Annual Income, “[i]n the past 7

years, have you filed for bankruptcy?” Mr. Couch answered “No.” However, upon information

and belief, on October 25, 1993, Mr. Couch filed for Chapter 13 Bankruptcy in the Southern

District of Georgia. See Douglas K. Couch, Case No. 4:93-bk-41843 (S.D. Ga. Oct. 25, 1993).

Further, upon information and belief, on March 30, 1992, Mr. Couch filed for Chapter 7

Bankruptcy in the Middle District of Florida. See Kelly Douglas Couch, Case No. 3:92-bk-

01776 (M.D. Fla. Mar. 30, 1992).

       17.      The Application indicated that the premium notices should be sent to the proposed

insured and that the premiums would be paid by monthly pre-authorized checks.

       18.      On January 17, 1999, Midland issued Policy No. Z13041, a 10-year term

Preferred Plus policy, to Mr. Couch insuring his life with a face amount of $500,000.

       19.      Mr. Couch selected to pay the annual premium of $250.00 on a monthly basis in

the amount of $22.50.

       20.      On September 20, 1999, Midland received by facsimile a Beneficiary/Ownership

Change Form (“Change Form”) purportedly sent by Mr. Couch. A copy of the Change Form is

attached hereto as Exhibit B.

       21.      The Change Form requested that Midland change the primary beneficiary of the

Policy to Sterling Crum at an address of                      Kirkland, WA          , and the

secondary beneficiary to Estate of Sterling Crum at the same address. Mr. Crum’s relationship

to the insured was listed as “Friend,” and the Estate’s relationship was listed as “Friend’s

Estate.”

       22.      The Ownership portion of the Change Form was left blank.




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         23.      The Change Form was purportedly signed by Mr. Couch on August 31, 1999.

Midland effectuated the Change Form on September 22, 1999.1



         24.      The facsimile line at the top of the Change Form reads:

               Sep 20 99 03:47p                   Keith Thomas                        954-565-8782

         25.      Upon information and belief, area code 954 is associated with the Fort

Lauderdale, Florida area.

         26.      Upon information and belief, Keith Thomas is the former President of the now-

defunct viatical settlement brokerage Cash for Life, Inc. (“Cash for Life”), located in Fort

Lauderdale, Florida.

         27.      During its existence, Cash for Life was notorious for the purchase and sale of

illegitimately obtained life insurance policies, later sold on the secondary market as viatical

settlements.

         28.      Upon information and belief, the Florida Department of Financial Services

revoked Cash for Life’s license to conduct business in the State of Florida between June of 2002

and March of 2003.

         29.      On May 16, 2000, Jackson received correspondence purportedly from Mr. Couch

enclosing a check in the amount of $160.00 for the remainder of the premium payments due

through January 2001. The correspondence further requested that the premium payments being

made by automatic withdrawal from his checking account be discontinued and that billing for

annual payments commence immediately.



1
  Subsequently, through a series of mergers and acquisitions, the rights and obligations of Midland under the Policy
were assumed by Jackson. Hereinafter, where the identity of the insurer is not relevant, Jackson is used in place of
the name of the actual insurer responsible for the Policy at the time of the event described.


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       30.     The correspondence was received by Jackson in a FedEx envelope with a return

address of Page Thomas (who upon information and belief is a relative of Keith Thomas and

worked with Keith Thomas in connection with Cash for Life transactions) at 3471 N. Federal

Hwy. 505, Ft. Lauderdale, FL 33306.

       C.      Mr. Couch Dies and the Policy Lapses

       31.     Mr. Couch died on June 10, 2005. A copy of the Death Certificate is attached at

Exhibit C.

       32.     The Death Certificate lists Mr. Couch’s social security number as          -7981

(“7981”), which was different than the social security number listed for Mr. Couch on the

Application. The cause of death is listed as “respiratory failure, due to or as a consequence of

sepsis, due to or as a consequence of pancreatitis.”

       33.     Notably, a search of the Death Master File was conducted by Jackson after Mr.

Couch’s death (but prior to Jackson learning of Mr. Couch’s death) using the social security

number provided on the Application. Because that social security number is seemingly

incorrect, Mr. Couch’s death did not come up on the Death Master File search.

       34.     For years, despite Mr. Couch’s death, no claim was made on the Policy, and

Jackson was not notified of the death. In fact, Jackson continued to receive premium payments

on the Policy through the end of 2009.

       35.     On November 18, 2009, Jackson mailed Mr. Couch – who owned the Policy

throughout its existence – notice that a premium increase would occur on January 17, 2010.

       36.     Thereafter, premium payments ceased, and the Policy lapsed on or about February

18, 2010; on March 19, 2010, Jackson then sent Mr. Couch correspondence notifying him that

the period for reinstating the Policy without providing evidence of insurability had ended.




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         37.    Jackson never received another premium payment on the Policy, nor

correspondence requesting information about reinstating the Policy.

         D.     Jackson Receives a Claim on the Policy More Than 11 Years After Mr.
                Couch’s Death

         38.    In January of 2017, counsel representing Mr. Crum contacted Jackson and

informed Jackson of Mr. Couch’s death for the first time.

         39.    On January 6, 2017, Jackson sent Mr. Crum correspondence that explained its

typical claim review process. The correspondence requested that a completed copy of the

enclosed Life Claimant Statement be submitted for Jackson’s review, as well as a certified copy

of the death certificate and the original copy of the Policy. A blank copy of the Life Claimant

Statement is attached hereto as Exhibit D.

         40.    Page 1 of the Life Claimant Statement provides Instructions on completing the

document. The Instructions list the documents required for proof of loss, and indicate that

special instructions and additional requirements may also apply. Specifically, the Instructions

state:

         If the policy is subject to a Viatical or a Life Settlement transaction, and if the
         beneficiary is a viatical settlement provider, life settlement provider, the receiver
         or conservator of viatical or life settlement company, a viatical or life financing
         entity, trustee, agent, securities intermediary or other representative of a viatical
         or life settlement provider or an individual or entity which invested in this policy
         as a viatical or life settlement, please complete the relevant questions.

         41.    The Instructions further provide that “[o]ther requirements may be needed

depending on the individual facts of the claim. The company will advise you if other

documentation is required.”

         42.    Page 2 of the Life Claimant Statement is entitled Fraud Instructions and provides

specific information based on the residency of the claimant. In relevant part, the Fraud

Instructions provide:


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       For Residents of Maine, Tennessee and Washington: It is a crime to
       knowingly provide false, incomplete or misleading information to an insurance
       company for the purpose of defrauding the company. Penalties include
       imprisonment, fines and denial of insurance benefits.

       43.     Jackson sent Mr. Crum follow-up correspondence reiterating its request for the

Life Claimant Statement and other documentation on January 31, 2017 and February 23, 2017.

       44.     Following several months of delay, under cover of letter dated March 17, 2017

from counsel for Mr. Crum, Jackson received a partially completed Life Claimant Statement and

a certified copy of the Death Certificate. A copy of the partially completed Life Claimant

Statement is attached hereto as Exhibit E.

       45.     On the Decedent Information portion of the Life Claimant Statement, Mr. Crum

listed the last four digits of Mr. Couch’s social security number as 7981, which were also the last

four digits of the social security number listed on the Death Certificate, but were different than

the last four digits of the social security number listed on the Application. Mr. Crum further

indicated the original copy of the policy was “lost or missing.”

       46.     On the Claimant Information portion of the Life Claimant Statement, Mr. Crum

described his relationship to the deceased as “Benefactor.”

       47.     The Claimant Information portion of the Life Claimant Statement specifically

requests information about whether the Policy had ever been subject to a viatical and/or life

settlement transaction in question 19, which provides:

       19.     Policies subject to Viatical / Life Settlement transaction – Are you a
               viatical settlement provider, life settlement provider, the receiver or
               conservator of viatical or life settlement company, a viatical or life
               financing entity, trustee, agent, securities intermediary or other
               representative of a viatical or life settlement provider; or an individual or
               entity which invested in this policy as a viatical or life settlement?

       48.     Mr. Couch failed to answer question 19 of the Life Claimant Statement.




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       49.    The second page of the Life Claimant Statement provides the following

information about the importance of providing accurate information on the Life Claimant

Statement:

       Important Information about the USA PATRIOT Act
       To help fight the funding of terrorism and money-laundering activities, the U.S.
       government has passed the USA PATRIOT Act, which requires banks, including
       our processing agent bank, to obtain, verify and record information that identifies
       persons who engage in certain transactions with or through a bank. This means
       that we will need to verify the name, residential or street address (no P.O. Boxes),
       date of birth and social security number or other tax identification number of all
       account owners.

       SUBSTITUTE FOR IRS FORM W-9
       This information is being collected on this form versus IRS form W-9 and will be
       used for supplying information to the Internal Revenue Service (IRS). Under
       penalty of perjury, I certify that 1) the tax ID number above is correct (or I am
       waiting for a number to be issued to me), 2) I am not subject to backup
       withholding because (a) I am exempt from backup withholding, or (b) I have not
       been notified by the IRS that I am subject to backup withholding as a result of a
       failure to report all interest or dividends, or (c) the IRS has notified me that I am
       no longer subject to backup withholding, 3) I am a U.S. person (including a U.S.
       resident alien), and 4) I am exempt from Foreign account Tax Compliance Act
       (FATCA) reporting. Please cross through item 2 if you have been notified by the
       IRS that you are subject to backup withholding because you have failed to report
       all interest and dividends on your tax return. Cross through item 3 if you are not a
       U.S. person (including a U.S. resident alien) and complete and return to us if you
       are not a U.S. person (including a U.S. resident alien) and complete and return to
       us the applicable IRS Form W-8BEN-E.

       50.    Finally, the Life Claimant Statement requires the signature of the Claimant. The

signature box provides the following:

       I/We do hereby make claim to said insurance, declare that the answers recovered
       above are complete and true, and agree that the furnishing of this and any
       supplemental forms do not constitute an admission by the Company that there was
       any insurance in force on the life in question, nor a waiver of its rights or
       defenses.

       For Residents of New York: Any person who knowingly and with intent to
       defraud any insurance company or other person files an application for insurance
       or statement of claim containing any materially false information, or conceals for
       the purpose of misleading, information concerning any fact material thereto,
       commits a fraudulent insurance act, which is a crime, and shall also be subject to


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        a civil penalty not to exceed five thousand dollars and the stated value of the
        claim for each such violation.

        For residents of All Other States: See the Fraud Information section of this
        claim form.

        The Internal Revenue Service does not require your consent to any provision
        of this document other than the certifications required to avoid backup
        withholding.

        51.    Mr. Crum signed the Life Claimant Statement and dated it March 8, 2017.

        E.     Jackson’s Review of the Claim and Discovery of Inconsistencies Between the
               Application, Death Certificate, and Life Claimant Statement

        52.    During its review of this claim, Jackson discovered that the social security

number provided by Mr. Couch on the Application did not match the social security number for

Mr. Couch that was provided by Mr. Crum on the Life Claimant Statement or the Death

Certificate.

        53.    Upon information and belief, the social security number provided in the

Application was issued between 1936 and 1951 in Puerto Rico, which would mean that it could

not be Mr. Couch’s social security number because he was not born until 1966.

        54.    Moreover, Jackson’s research shows addresses in Georgia in March of 2008 and

California in December of 2008 associated with the social security number provided in the

Application. Jackson’s research also shows addresses in Maryland from February of 2010, as

well as addresses in Florida and Georgia associated with the social security number provided on

the Death Certificate.

        55.    After discovering this information, Jackson contacted counsel for Mr. Crum to

inquire about the discrepancy. Rather than provide any legitimate explanation as to why Mr.

Couch would use a social security number that was issued decades before he was born in Puerto

Rico to apply for the Policy, counsel for Mr. Crum asserted, and continues to assert at the time of



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filing, that it is commonplace for individuals to have multiple social security numbers associated

with their name.

        56.     Counsel further represented to Jackson that the premiums were paid well beyond

Mr. Couch’s date of death because Mr. Crum didn’t communicate well with Mr. Couch.

        57.     Jackson further discovered Mr. Crum failed to complete question 19 on the Life

Claimant Statement regarding viatical and life settlement transactions. In correspondence to

Jackson dated June 15, 2017, counsel for Mr. Crum indicated that Mr. Crum wished to answer

“no” to question 19 as written because “Mr. Crum received his interest in this policy in

settlement of a business dispute and legal claim between himself and a viatical settlement

company. [Mr. Crum’s] claim against them was for $295,000.00, and in lieu of the company

paying cash to settle his claim, they offered the interest in this policy as a full and complete

settlement of Mr. Crum’s claim, which he subsequently accepted.”

        58.     Upon information and belief, the identity of that alleged viatical company is Cash

for Life.

        59.     Nevertheless, the supposed owner of the Policy was and always has been Mr.

Couch, so it seems impossible that Cash for Life, or any other viatical settlement company,

properly acquired ownership of the Policy such that it could be used as an asset to settle a legal

dispute.

        60.     The supposed beneficiary upon issuance of the Policy was Mr. Couch’s estate,

followed by Mr. Crum, so it seems impossible that Cash for Life, or any other viatical settlement

company, legitimately acquired a beneficial interest in the Policy such that it could be used as an

asset to settle a legal dispute.




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       61.      The Change Form purportedly completed by Mr. Couch indicated he and Mr.

Crum were friends, not that the beneficiary interest was transferred as settlement of a legal claim

between a third-party viatical company and Mr. Couch.

       62.      Mr. Crum refuses to produce any documentation of the legal dispute, settlement

agreement between himself and Cash for Life (nor any other life settlement company), or any

evidence that Cash for Life ever held a valid interest in the Policy, despite repeated requests from

Jackson.

       63.      Mr. Crum has not provided an explanation for the discrepancies in the Life

Claimant Statement, including why he listed his relationship to Mr. Couch as “benefactor”

despite allegedly receiving his beneficial interest in the Policy through a settlement agreement.

                                             COUNT I

 DECLARATORY JUDGMENT – ILLEGAL HUMAN LIFE WAGERING CONTRACT

       64.      Jackson hereby incorporates by reference each and every averment contained in

the preceding paragraphs as if set forth herein at length.

       65.      The Policy bears certain indicia of a life insurance policy procured for the purpose

of wagering and resale on the secondary market, including but not limited to the following:

             a. The application was for a $500,000 policy on a single 32-year-old man with no

                spouse or children with only his estate as the beneficiary;

             b. Mr. Couch appears to have potentially used a fake social security number to apply

                for the Policy;

             c. Mr. Couch lied about having had past bankruptcies in the relevant time period on

                the Application;




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             d. The beneficiary Change Form was completed only months after the Policy was

                  issued;

             e. The beneficiary Change Form was faxed from a number associated with an

                  illegitimate viatical settlement company;

             f. Mr. Crum’s alleged beneficial interest was discovered within months after the

                  issuance of the Policy, and Jackson is now told that this interest was acquired

                  through a settlement with a viatical settlement company whose underlying viatical

                  transaction with respect to the Policy was concealed from Jackson and its

                  predecessors;

             g. Mr. Crum provided untrue information on the Life Claimant Statement;

             h. Mr. Crum can produce no legitimate explanation for the inconsistencies between

                  the Application and other documents associated with the Policy; and

             i.   Mr. Crum refuses to produce any documents substantiating his claims about a

                  legitimate settlement of an unrelated claim with an alleged viatical settlement

                  company to clarify the inconsistencies.

       66.        As set forth herein, it appears the Policy may have been, from the outset, intended

as a wager on the life of Mr. Couch. Whether Mr. Couch knew the details of this scheme or his

identity was merely used as an instrumentality to procure the Policy, stranger investors may have

been wagering on the Insured’s life and hoping to trigger a secondary market cash-in on the

Policy’s $500,000 death benefit.

       67.        Accordingly, Jackson seeks, and is entitled to, a declaratory judgment as to

whether the Policy was an illegal wagering contract that violated Georgia law and public policy,

thus rendering the Policy void ab initio, meaning that the Policy never came into existence. If




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this Court declares that Jackson is not required to pay the benefits of the Policy based on the

documentation provided by Mr. Crum in support of his claim, Jackson seeks a further declaration

regarding whether any premiums are refundable on the Policy and, if so, whether Jackson is

entitled to offset any return of premiums against the costs and other losses it incurred in

connection with underwriting, issuing, commission payments, administration, and claim

processing on the Policy.

                                               COUNT II

             DECLARATORY JUDGMENT – LACK OF INSURABLE INTEREST

       68.     Jackson hereby incorporates by reference each and every allegation contained in

the preceding paragraphs as if set forth herein at length.

       69.     As set forth herein, it appears that Cash for Life may have acquired its interest in

the Policy by way of an underlying viatical transaction that was concealed from Jackson and its

predecessors in an effort to hide that the Policy lacked insurable interest at the time it was issued.

       70.     Moreover, the Policy may have been applied for and issued at the behest of

individuals or entities – with no insurable interest in the life of the Insured – who procured the

Policy for the purpose of benefitting stranger investors in the viatical secondary market.

Accordingly, the Policy may be void ab initio.

       71.     Therefore, Jackson seeks, and is entitled to, a declaratory judgment as to whether

the Policy lacked insurable interest because it was procured by and for the benefit of strangers

without any insurable interest under Georgia law, and was thus void ab initio.

                                     RELIEF REQUESTED

       WHEREFORE, Jackson respectfully requests the entry of an Order by this Court as

follows:




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       a.      Declaring whether the Policy is void ab initio due to it having been procured as a

wagering contract on the life of the Insured;

       b.      Declaring whether the Policy is void ab initio due to it having been procured

without a valid insurable interest at inception;

       c.      Declaring whether the Policy is void ab initio and thus never existed;

       d.      Declaring whether, because the Policy is void ab initio and never existed, the

Change Form purporting to change the beneficiary of the Policy to Mr. Crum is void;

       e.      Declaring whether, because the Policy is void ab initio, the Court will leave the

parties to this illegal contract as it finds them, thus permitting Jackson to retain the premiums

paid on the Policy, or, in the alternative, declaring that Jackson may retain some or all of the

premiums paid on the Policy to effectuate an offset with respect to Jackson’s costs and losses

associated with underwriting, issuing, commission payments, administration, and claim

processing on the Policy;

       f.      Awarding Jackson attorneys’ fees and costs associated with bringing this lawsuit,

as determined by the Court; and

       g.      Awarding Jackson such further relief as this Court deems appropriate.

                                                Respectfully Submitted,


Dated: October 2, 2017                 By:      /s/ James T. Williams
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